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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

                                            )      CASE NO: 4:09cr3117
UNITED STATES OF AMERICA,                   )
               Plaintiff,                   )            ORDER
                                            )      TO WITHDRAW EXHIBITS
              vs.                           )      OR TO SHOW CAUSE WHY
                                            )      EXHIBITS SHOULD NOT BE
                                            )           DESTROYED
TRAVES RUSH,                                )
                      Defendant.            )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for parties, shall either 1)

withdraw the following exhibits previously submitted in this matter within 14 calendar days

of the date of this order, or 2) show cause why the exhibits should not be destroyed:

              Exhibit number(s): All exhibits

              Hearing type(s):     All hearings

              Date of hearing(s): 2/16/2010, 5/3-7 and 10/2010, 8/18/2010

       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       May 7, 2012.




                                                   Warren K. Urbom
                                                   United States Senior District Judge
